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                                 #:7269




                            EXHIBIT A
        Case 2:18-cv-00729-JAK-MRW Document 313-1 Filed 08/15/19 Page 2 of 8 Page ID
                                               #:7270
5:11 PM                        Digital Altitude LLC in Receivership
08/02/19                                    Profit & Loss
Accrual Basis                         January through July 2019

                                                                Jan - Jul 19
                         Ordinary Income/Expense
                           Income
                             Sale of Personal Property                 59,990.22
                             Turnover/Seizure                             391.11
                           Total Income                                60,381.33
                           Expense
                             Bank Service Charges                          20.33
                             Computer and Internet Expenses            23,023.66
                             Outside Services
                               Document Reproduction                 107.40
                               Misc Services                         198.00
                             Total Outside Services                       305.40
                             Professional Fees
                               Receiver's Counsel Costs              329.89
                               Receiver's Counsel Fees            69,117.00
                               Receiver's IT Consultant Costs      1,154.32
                               Receiver's IT Consultant Fees       8,150.50
                               Receiver Fees                      69,548.00
                             Total Professional Fees                  148,299.71
                             Travel Expense                             2,423.51
                           Total Expense                              174,072.61

                         Net Ordinary Income                         -113,691.28
                         Other Income/Expense
                           Other Income
                             Interest Income                           13,028.52
                           Total Other Income                          13,028.52

                         Net Other Income                              13,028.52

                       Net Income                                    -100,662.76




                                                                                       Page 1
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                                               #:7271
5:10 PM                        Digital Altitude LLC in Receivership
08/02/19                                      Profit & Loss
Accrual Basis                                 As of July 31, 2019

                                                                    Jul 31, 19
                         Ordinary Income/Expense
                           Income
                             Sale of Personal Property                     59,990.22
                             Turnover/Seizure                           2,009,540.33
                           Total Income                                 2,069,530.55
                           Expense
                             Bank Service Charges                              78.75
                             Computer and Internet Expenses                32,282.12
                             Outside Services
                               Document Reproduction                     710.76
                               Misc Services                             521.00
                               Postage & Delivery                      1,581.23
                             Total Outside Services                          2,812.99
                             Professional Fees
                               Receiver's Counsel Costs                 329.89
                               Receiver's Counsel Fees              132,091.51
                               Receiver's IT Consultant Costs         1,154.32
                               Receiver's IT Consultant Fees          8,150.50
                               Receiver Fees                        207,434.00
                               Tax Accountants                       17,000.00
                             Total Professional Fees                      366,160.22
                             Travel Expense                                 3,427.12
                           Total Expense                                  404,761.20

                         Net Ordinary Income                            1,664,769.35
                         Other Income/Expense
                           Other Income
                             Interest Income                               13,028.52
                           Total Other Income                              13,028.52

                         Net Other Income                                  13,028.52

                       Net Income                                       1,677,797.87




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                                               #:7272
5:11 PM                        Digital Altitude LLC in Receivership
08/02/19                                   Balance Sheet
Accrual Basis                               As of July 31, 2019

                                                                   Jul 31, 19
                          ASSETS
                            Current Assets
                              Checking/Savings
                                Wells Fargo Operating 4499           100,817.35
                                Wells Fargo Treasury Acct 6054     1,613,028.52
                              Total Checking/Savings               1,713,845.87

                            Total Current Assets                   1,713,845.87

                          TOTAL ASSETS                             1,713,845.87
                          LIABILITIES & EQUITY
                            Liabilities
                              Current Liabilities
                                 Other Current Liabilities
                                     Post TRO Consumer Payments      36,048.00
                                 Total Other Current Liabilities     36,048.00

                              Total Current Liabilities              36,048.00

                            Total Liabilities                        36,048.00
                            Equity
                              Retained Earnings                    1,778,460.63
                              Net Income                            -100,662.76
                            Total Equity                           1,677,797.87

                          TOTAL LIABILITIES & EQUITY               1,713,845.87




                                                                                       Page 1
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                                            #:7273
5:12 PM                                                    Digital Altitude LLC in Receivership
08/02/19                                                                 General Ledger
Accrual Basis                                                             As of July 31, 2019

        Type            Date        Num               Name                       Memo                        Split               Debit         Credit        Balance

  Wells Fargo Operating 4499                                                                                                                                1,814,508.63
    Deposit     1/18/2019                                                Deposit                    Turnover/Seizure               326.43                   1,814,835.06
    Check       1/21/2019        1014      Thomas Seaman Company         Q3&Q4-2018 Reimbu...       -SPLIT-                                     7,983.48    1,806,851.58
    Check       1/28/2019        ACH       Harvard Business Service...   Annual Renewal             Misc Services                                  99.00    1,806,752.58
    Check       2/15/2019        Tran...   Thomas Seaman Company         Second Interim Fee A...    -SPLIT-                                    71,971.51    1,734,781.07
    Check       2/15/2019        Wire      Loeb & Loeb LLP               Fee Application 2          -SPLIT-                                    69,446.89    1,665,334.18
    Deposit     2/22/2019                                                Deposit                    Turnover/Seizure                64.68                   1,665,398.86
    Transfer    3/13/2019                                                Funds Transfer             Wells Fargo Treasur...                   1,600,000.00      65,398.86
    Deposit     4/25/2019                                                Deposit                    -SPLIT-                     21,375.00                      86,773.86
    Deposit     5/2/2019                                                 Deposit                    Sale of Personal Pro...     30,768.11                     117,541.97
    Check       5/13/2019                                                Service Charge             Bank Service Charges                             8.41     117,533.56
    Check       6/25/2019        Wire      Berkeley Research Group...    Invoice 66795              -SPLIT-                                      9,304.82     108,228.74
    Deposit     7/2/2019                                                 Deposit                    Sale of Personal Pro...      7,847.11                     116,075.85
    Check       7/2/2019         1015      Harvard Business Service...   Acct 103826                Misc Services                                   99.00     115,976.85
    Check       7/13/2019                                                Service Charge             Bank Service Charges                            11.92     115,964.93
    Check       7/31/2019        1016      Thomas Seaman Company         Q1&Q2-2019 Reimbu...       -SPLIT-                                      9,855.58     106,109.35
    Check       7/31/2019        1018      Thomas Seaman Company         Infusionsoft Reimburs...   -SPLIT-                                      5,292.00     100,817.35
  Total Wells Fargo Operating 4499                                                                                              60,381.33    1,774,072.61     100,817.35
  Wells Fargo Treasury Acct 6054                                                                                                                                    0.00
    Transfer    3/13/2019                                                Funds Transfer             Wells Fargo Operati...    1,600,000.00                  1,600,000.00
    Deposit     3/31/2019                                                Deposit                    Interest Income               1,571.69                  1,601,571.69
    Deposit     4/30/2019                                                Deposit                    Interest Income               2,395.02                  1,603,966.71
    Deposit     5/31/2019                                                Deposit                    Interest Income               3,643.32                  1,607,610.03
    Deposit     6/30/2019                                                Deposit                    Interest Income               3,256.44                  1,610,866.47
    Deposit     7/31/2019                                                Deposit                    Interest Income               2,162.05                  1,613,028.52
  Total Wells Fargo Treasury Acct 6054                                                                                        1,613,028.52           0.00   1,613,028.52
  Accounts Receivable                                                                                                                                               0.00
  Total Accounts Receivable                                                                                                                                         0.00
  Undeposited Funds                                                                                                                                                 0.00
  Total Undeposited Funds                                                                                                                                           0.00
  Accumulated Depreciation                                                                                                                                          0.00
  Total Accumulated Depreciation                                                                                                                                    0.00
  Furniture and Equipment                                                                                                                                           0.00
  Total Furniture and Equipment                                                                                                                                     0.00
  Accounts Payable                                                                                                                                                  0.00
  Total Accounts Payable                                                                                                                                            0.00
  Payroll Liabilities                                                                                                                                               0.00
  Total Payroll Liabilities                                                                                                                                         0.00
  Post TRO Consumer Payments                                                                                                                                  -36,048.00
  Total Post TRO Consumer Payments                                                                                                                            -36,048.00
  Opening Balance Equity                                                                                                                                            0.00
  Total Opening Balance Equity                                                                                                                                      0.00
  Retained Earnings                                                                                                                                         -1,778,460.63
  Total Retained Earnings                                                                                                                                   -1,778,460.63
  Sale of Personal Property                                                                                                                                         0.00
     Deposit    4/25/2019        5186      Elite Dealer Sales            Sale of Ducati motorc...   Wells Fargo Operati...                     12,577.00      -12,577.00
     Deposit    4/25/2019        5188      Elite Dealer Sales            Sale of Zero motorcycle    Wells Fargo Operati...                      8,798.00      -21,375.00
     Deposit    5/2/2019         5195      Elite Dealer Sales            Sale of Jeep               Wells Fargo Operati...                     30,768.11      -52,143.11
     Deposit    7/2/2019         5248      Elite Dealer Sales            Sale of Zero motorcycle    Wells Fargo Operati...                      7,847.11      -59,990.22
  Total Sale of Personal Property                                                                                                     0.00     59,990.22      -59,990.22
  Turnover/Seizure                                                                                                                                                  0.00
    Deposit     1/18/2019        109856    PayPal                        Invoice 70030              Wells Fargo Operati...                        326.43         -326.43
    Deposit     2/22/2019        26440     GetResponse Services, Inc.    Commission ending 1...     Wells Fargo Operati...                         64.68         -391.11
  Total Turnover/Seizure                                                                                                              0.00        391.11         -391.11
  Advertising and Promotion                                                                                                                                         0.00
  Total Advertising and Promotion                                                                                                                                   0.00
  Automobile Expense                                                                                                                                                0.00
  Total Automobile Expense                                                                                                                                          0.00
  Bank Service Charges                                                                                                                                              0.00
    Check       5/13/2019                                                Service Charge             Wells Fargo Operati...           8.41                           8.41
    Check       7/13/2019                                                Service Charge             Wells Fargo Operati...          11.92                          20.33
  Total Bank Service Charges                                                                                                        20.33            0.00          20.33


                                                                                                                                                                  Page 1
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5:12 PM                                                   Digital Altitude LLC in Receivership
08/02/19                                                                 General Ledger
Accrual Basis                                                             As of July 31, 2019

       Type          Date         Num                Name                         Memo                        Split            Debit       Credit      Balance

  Computer and Internet Expenses                                                                                                                             0.00
    Check      1/21/2019    1014           Thomas Seaman Company         Monthly Google Clou...      Wells Fargo Operati...     7,120.00                 7,120.00
    Check      1/21/2019    1014           Thomas Seaman Company         Network Solutions We...     Wells Fargo Operati...       827.48                 7,947.48
    Check      7/31/2019    1016           Thomas Seaman Company         Monthly Google Clou...      Wells Fargo Operati...     9,230.66                17,178.14
    Check      7/31/2019    1016           Thomas Seaman Company         Network Solutions We...     Wells Fargo Operati...       553.52                17,731.66
    Check      7/31/2019    1018           Thomas Seaman Company         July 2018 - Jan 2019 ...    Wells Fargo Operati...     1,512.00                19,243.66
    Check      7/31/2019    1018           Thomas Seaman Company         Feb 2019                    Wells Fargo Operati...       516.00                19,759.66
    Check      7/31/2019    1018           Thomas Seaman Company         March - June 2019 @...      Wells Fargo Operati...     3,264.00                23,023.66
  Total Computer and Internet Expenses                                                                                         23,023.66        0.00    23,023.66
  Depreciation Expense                                                                                                                                       0.00
  Total Depreciation Expense                                                                                                                                 0.00
  Insurance Expense                                                                                                                                          0.00
  Total Insurance Expense                                                                                                                                    0.00
  Interest Expense                                                                                                                                           0.00
  Total Interest Expense                                                                                                                                     0.00
  Meals and Entertainment                                                                                                                                    0.00
  Total Meals and Entertainment                                                                                                                              0.00
  Office Supplies                                                                                                                                            0.00
  Total Office Supplies                                                                                                                                      0.00
  Outside Services                                                                                                                                           0.00
    Document Reproduction                                                                                                                                    0.00
    Check       1/21/2019 1014             Thomas Seaman Company         PACER Court Filings         Wells Fargo Operati...        36.00                    36.00
    Check       7/31/2019 1016             Thomas Seaman Company         PACER Court Filings         Wells Fargo Operati...        71.40                   107.40
    Total Document Reproduction                                                                                                  107.40         0.00       107.40
    Misc Services                                                                                                                                            0.00
    Check       1/28/2019       ACH        Harvard Business Service...   Mail forwarding for De...   Wells Fargo Operati...        99.00                    99.00
    Check       7/2/2019        1015       Harvard Business Service...   Account 103826, File ...    Wells Fargo Operati...        99.00                   198.00
    Total Misc Services                                                                                                          198.00         0.00       198.00
    Postage & Delivery                                                                                                                                       0.00
    Total Postage & Delivery                                                                                                                                 0.00
    Outside Services - Other                                                                                                                                 0.00
    Total Outside Services - Other                                                                                                                           0.00

  Total Outside Services                                                                                                         305.40         0.00       305.40
  Payroll Expenses                                                                                                                                           0.00
  Total Payroll Expenses                                                                                                                                     0.00
  Professional Fees                                                                                                                                          0.00
    Receiver's Counsel Costs                                                                                                                                 0.00
     Check      2/15/2019    Wire          Loeb & Loeb LLP               Costs                       Wells Fargo Operati...      329.89                    329.89
    Total Receiver's Counsel Costs                                                                                               329.89         0.00       329.89
    Receiver's Counsel Fees                                                                                                                                  0.00
    Check       2/15/2019   Wire           Loeb & Loeb LLP               Fee Application 2           Wells Fargo Operati...    69,117.00                69,117.00
    Total Receiver's Counsel Fees                                                                                              69,117.00        0.00    69,117.00
    Receiver's IT Consultant Costs                                                                                                                           0.00
    Check       6/25/2019     Wire         Berkeley Research Group...    Expenses                    Wells Fargo Operati...     1,154.32                 1,154.32
    Total Receiver's IT Consultant Costs                                                                                        1,154.32        0.00     1,154.32
    Receiver's IT Consultant Fees                                                                                                                            0.00
    Check       6/25/2019     Wire         Berkeley Research Group...    Fees                        Wells Fargo Operati...     8,150.50                 8,150.50
    Total Receiver's IT Consultant Fees                                                                                         8,150.50        0.00     8,150.50
    Receiver Fees                                                                                                                                            0.00
    Check      2/15/2019        Tran...    Thomas Seaman Company         Second Interim Fee A...     Wells Fargo Operati...    69,548.00                69,548.00
    Total Receiver Fees                                                                                                        69,548.00        0.00    69,548.00
    Tax Accountants                                                                                                                                          0.00
    Total Tax Accountants                                                                                                                                    0.00
    Professional Fees - Other                                                                                                                                0.00
    Total Professional Fees - Other                                                                                                                          0.00

  Total Professional Fees                                                                                                     148,299.71        0.00   148,299.71




                                                                                                                                                          Page 2
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5:12 PM                                             Digital Altitude LLC in Receivership
08/02/19                                                        General Ledger
Accrual Basis                                                    As of July 31, 2019

        Type         Date         Num           Name                    Memo                        Split              Debit         Credit       Balance

  Rent Expense                                                                                                                                          0.00
  Total Rent Expense                                                                                                                                    0.00
  Repairs and Maintenance                                                                                                                               0.00
  Total Repairs and Maintenance                                                                                                                         0.00
  Telephone Expense                                                                                                                                     0.00
  Total Telephone Expense                                                                                                                               0.00
  Travel Expense                                                                                                                                        0.00
     Check     2/15/2019      Tran...   Thomas Seaman Company   Travel Expenses for T...   Wells Fargo Operati...       2,423.51                    2,423.51
  Total Travel Expense                                                                                                  2,423.51           0.00     2,423.51
  Utilities                                                                                                                                             0.00
  Total Utilities                                                                                                                                       0.00
  Interest Income                                                                                                                                       0.00
     Deposit    3/31/2019                                       3/31 Statement             Wells Fargo Treasur...                     1,571.69     -1,571.69
     Deposit    4/30/2019                                       4/30/19 Stmt               Wells Fargo Treasur...                     2,395.02     -3,966.71
     Deposit    5/31/2019                                       Deposit                    Wells Fargo Treasur...                     3,643.32     -7,610.03
     Deposit    6/30/2019                                       Deposit                    Wells Fargo Treasur...                     3,256.44    -10,866.47
     Deposit    7/31/2019                                       Deposit                    Wells Fargo Treasur...                     2,162.05    -13,028.52
  Total Interest Income                                                                                                     0.00     13,028.52    -13,028.52
  Ask My Accountant                                                                                                                                     0.00
  Total Ask My Accountant                                                                                                                               0.00
  No accnt                                                                                                                                              0.00
  Total no accnt                                                                                                                                        0.00

TOTAL                                                                                                               1,847,482.46   1,847,482.46         0.00




                                                                                                                                                     Page 3
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                STANDARDIZED FUND ACCOUNTING     REPORT 313-1
                                                           for Digital Filed
                                                                       Altitude 08/15/19
                                                                                Receivership Page 8 of 8 Page ID
                                                   #:7276
                                  FTC v. Digital Altitude, LLC, et al
                                               Reporting Period 10/01/2018 to 07/31/2019

         Line 14        Ending Balance of Fund - Net Assets:
             Line 14a   Cash & Cash Equivalents                                                                         1,713,846
             Line 14b   Investments                                                                                           -
             Line 14c   Other Assets or Uncleared Funds                                                                       -
                        Total Ending Balance of Fund - Net Assets                                                       1,713,846



         OTHER SUPPLEMENTAL INFORMATION:
                                                                                      Detail             Subtotal   Grand Total
                        Report of Items NOT to be Paid by the Fund:

         Line 15      Disbursement for Plan Administration Expenses Not Paid by the Fund:
             Line 15a Plan Development Expenses Not Paid by the Fund:
                      1. Fees:
                        Fund Administrator…………………………………….                            -                                        -
                        IDC………………………………………………………………                                  -                                        -
                        Distribution Agent………………………………………                            -                                        -
                        Consultants………………………………………………..                              -                                        -
                        Legal Advisors…………………………………………….                             -                                        -
                        Tax Advisors……………………………………………….                              -                                        -
                      2. Administrative Expenses                                     -                                        -
                      3. Miscellaneous                                               -                                        -
                      Total Plan Developmental Expenses Not Paid by the Fund                                                  -

             Line 15b Plan Implementation Expenses Not Paid by the Fund
                      1. Fees:
                        Fund Administrator…………………………………….                             -                                       -
                        IDC………………………………………………………………                                                                           -
                        Distribution Agent………………………………………                             -                                       -
                        Consultants………………………………………………..                               -                                       -
                        Legal Advisors…………………………………………….                              -                                       -
                        Tax Advisors……………………………………………….                               -                                       -
                      2. Administrative Expenses                                      -                                       -
                      3. Investor Identification
                        Notice/Publishing Approved Plan……………                          -                                       -
                        Claimant Identification…………………………..                           -                                       -
                        Claims Processing……………………………………                                                                       -
                        Web Site Maintenance/Call Center………….                                                                 -
                      4. Fund Administrator Bond                                      -                                       -
                      5. Miscellaneous                                                -                                       -
                      6. FAIR Reporting Expenses                                      -                                       -
                      Total Plan Implementation Expenses Not Paid by the Fund                                                 -
             Line 15c Tax Administrator Fees & Bonds Not Paid by the Fund                                                     -
                      Total Disbursements for Plan Administration Expenses Not Paid by the Fund                               -

         Line 16      Disbursements to Court/Other Not Paid by the Fund:
             Line 16a Investment Expenses/CRIS Fees                                            -                              -
             Line 16b Federal Tax Payments                                                     -                              -
                      Total Disbursement to Court/Other Not Paid by the Fund:                                                 -

         Line 17        DC & State Tax Payments                                                -                              -

         Line 18     No. of Claims:
             Line 18a # of Claims Received This Reporting Period…………………………………………………………..
             Line 18b # of Claims Received Since Inception of Fund……………………………………………………….
         Line 19     No. of Claimants/Investors:
             Line 19a # of Claimants/Investors Paid this Reporting Period…………………………………………….
             Line 19b # of Claimants/Investors Paid Since Inception of Fund…………………………………………



                                                                    Receiver:

                                                                         By:
                                                                                Thomas Seaman
                                                                                Receiver for Digital Altitude


                                                                       Date:            8-Aug-19
